                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

MOLLY SOSTAND and RAYMOND §
SOSTAND, individually and as the §
representative of THE ESTATE OF  §
CHRISTOPHER GEORGE SOSTAND, §
deceased,                        §
                                 §
             Plaintiffs,         §
                                 §
v.                               §                        CIVIL ACTION NO. 4:07-CV-3858
                                 §
KANSAS CITY SOUTHERN             §
RAILWAY COMPANY, LEWIS E.        §
CUNNINGHAM, and RAILPROS, INC.,§
                                 §
             Defendants.         §

                                              MEMORANDUM AND ORDER

            In this negligence and wrongful death case, Defendants Lewis E. Cunningham

(“Cunningham”) and RailPros, Inc. (“RailPros”) have moved for summary judgment

on Plaintiffs’ negligence claim.1 Plaintiffs Molly and Raymond Sostand, individually

and as representative of the estate of Christopher George Sostand, deceased, have




1
            Lewis E. Cunningham and Railpros, Inc.’s Motion for Summary Judgment as to All
            Claims by Plaintiffs [Doc. # 40] (“Motion”).

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responded.2 Defendants replied, and Plaintiffs filed a surreply.3 Having considered

the parties’ briefing, the applicable legal authorities, and all matters of record, the

Court concludes that the Motion should be denied.

I.          BACKGROUND

            Christopher George Sostand was struck by a train and killed on December 21,

2005. Sostand was employed by Brown’s Machine Works (“Brown”) as a “feeder”

on a railroad spiking crew, and had been employed in the position for approximately

one month. Brown was under contract with Kansas City Southern Railway Company

(“KCS”) to provide track maintenance along the KCS track from Pittsburg, Kansas,

through Texas. Sostand was required to complete, and did complete, a KCS safety

course and examination before receiving approval to work on the KCS rail line.

            On the day in question, Sostand and the rest of the Brown crew were given their

daily job briefing by Defendant Lewis Cunningham, a flagman contracted by

Defendant RailPros. “Flagman” is defined by federal regulation as follows:

            an employee designated by the railroad to direct or restrict the movement
            of trains past a point on a track to provide on-track safety for roadway

2
            Plaintiffs’ Response to Defendants Railpros, Inc. and Lewis Cunningham’s Motion
            for Summary Judgment [Doc. # 48] (“Response”).
3
            Lewis E. Cunningham and Railpros, Inc.’s Reply to Plaintiffs’ Response to Motion
            for Summary Judgment [Doc. # 82] (“Reply”); Plaintiffs’ Reply to Defendants
            Railpros, Inc., and Lewis Cunningham’s Reply to Plaintiffs’ Response to Motion for
            Summary Judgment [Doc. # 83] (“Surreply”).

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            workers, while engaged solely in performing that function.4

The parties agree that Cunningham was the Employee in Charge (“EIC”) over the

Brown crew.5

            At the job briefing on December 21, Cunningham told the Brown crew that

KCS had granted them “track and time” limits until 13:01 hours,6 and that they “were

headed to [Farmersville] to tie up [their] machines there.”7 However, on the way to

4
            49 C.F.R. § 214.7. Plaintiffs argue that Cunningham also was a “lookout” and
            “watchman,” which is defined by federal regulation as follows:

                        Watchman/lookout means an employee who has been annually trained
                        and qualified to provide warning to roadway workers of approaching
                        trains or on-track equipment. Watchmen/lookouts shall be properly
                        equipped to provide visual and auditory warning such as whistle, air
                        horn, white disk, red flag, lantern, fusee. A watchman/lookout’s sole
                        duty is to look out for approaching trains/on-track equipment and
                        provide at least fifteen seconds advanced warning to employees before
                        arrival of trains/on-track equipment.

            49 C.F.R. § 214.7. Defendants vigorously dispute that Cunningham had
            watchman/lookout duties. See Reply, at 3-6.
5
            Response, at 3-4; Reply, at 3 (“The summary judgment evidence shows that Mr.
            Cunningham was assigned the job of flagman (or Employee in Charge) for the
            Browns’ Machine Works crew”).
6
            Defendant states that the crew was safe on the tracks during that time, because no
            trains were permitted to operate on that section of track. Motion, at 3 n. 2 (citing 49
            C.F.R. § 214.323(c) (“The train dispatcher or control operator shall not permit the
            movement of trains or other on-track equipment onto the working limits protected by
            foul time until the roadway worker who obtained the foul time has reported clear of
            the track.”)).
7
            Deposition of Lewis Edwin Cunningham (Exhibit 4 to Response) (“Cunningham
                                                                           (continued...)

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Farmersville, at a time not identified in the record, Cunningham received a request

from another work crew that the Brown crew stop working and clear the track by

putting its machines in a non-operative side track (the “Copeville siding”), because

the other crew “would not be able to accommodate what [the Brown crew] needed to

do to get into the track at Farmersville prior to a train.”8 Cunningham therefore

radioed his lead machine to stop before the Copeville siding, and threw the switch to

allow them to enter the siding.9 Cunningham testified in his deposition that he was

unaware that a train was approaching.10

            At 12:49 hours, after clearing to the Copeville siding, Cunningham reported to

the KCS dispatcher that his crew had cleared the track.11 Defendants maintain that,

after this release by Cunningham, the Brown crew members were no longer permitted



7
            (...continued)
            Deposition”), at 28.
8
            Id. at 29.
9
            Id. at 30. See Deposition of Gregory Adams (Exhibit B to Motion), at 81
            (Cunningham told the crew that they needed to clear the track for a train, and the crew
            exited to the Copeville siding).
10
            Cunningham Deposition, at 40 (“I did not inform them of [the train’s] imminent
            arrival because I didn’t know it”). This testimony contradicts the testimony of
            Adams, cited above, who stated that Cunningham told the crew to clear the track for
            a train.
11
            KCS Track and Time/Work and Time Limits Form, dated December 21, 2005
            (Exhibit A to Motion) (showing “release time” at 12:49 hours).

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to “foul the track.”12 Defendants state that the crew was awaiting its next “track and

time” limit, and had waited approximately one hour when Sostand fouled the track

and was struck by the train. Defendants argue that the “track and time” safety

procedures were in place and were followed by Cunningham, and that Cunningham

had no further safety duties.13

            Plaintiffs argue, however, that Cunningham had additional safety duties as the

EIC of the Brown crew. In particular, under KCS Safety Rule 21.3, Cunningham was

required to conduct job briefings when on-track safety procedures changed during the

work period.14 Plaintiffs argue that entering the Copeville siding on December 21,

2005, was “a clear departure” from the instructions that Cunningham testified he gave

to the Brown crew at the daily job briefing that morning, and that he had not

conducted an additional safety briefing or informed the crew about any change in

safety procedures.15 Plaintiffs also have presented evidence that members of the crew


12
            “Foul a track” is defined by federal regulation as “the placement of an individual or
            an item of equipment in such proximity to a track that the individual or equipment
            could be struck by a moving train or on-track equipment, or in any case is within four
            feet of the field side of the near running rail.” 49 C.F.R. § 214.7.
13
            Reply, at 6.
14
            Response, at 3-4; KCS Safety Rules (Exhibit 4 to Cunningham Deposition), at bates-
            stamped pages 11-12 (Safety Rule 21.3).
15
            Response, at 4; Affidavit of James Charles Mineo (Exhibit 1 to Response) (“Mineo
                                                                                (continued...)

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were unaware that they were in the siding because a train was approaching on the

main track, and that Cunningham did not provide a train approach warning.16 Several

of Sostand’s coworkers stated that, when parked in a siding, Cunningham’s safety

procedure was to provide a warning when a train approached, and therefore that crew

members typically sat on their machines until receiving the warning.17 Plaintiffs’

witnesses also state that Cunningham failed to provide the train approach warning on




15
            (...continued)
            Affidavit”), at 2; Deposition of Charles Edward Pickens (Exhibit 2 to Response)
            (“Pickens Deposition”), at 13. Defendants request that Mineo’s affidavit be stricken
            because the affidavit was prepared by counsel. Reply, at 2. This objection is
            overruled. While the Court finds problematic the affidavit’s use of words that are not
            in the affiant’s vocabulary, in this case the objection does not warrant striking the
            entire affidavit, and the Court has no reason to suspect that the facts recounted in the
            affidavit are unreliable. Defendant also objects to Mineo’s statements regarding what
            Sostand was told or knew on the day of the accident. Id. The Court does not rely on
            any statements from Mineo’s affidavit to which this objection applies.
16
            Pickens Deposition, at 14-18; Deposition of Earnest Dwayne Zeno (Exhibit 3 to
            Response) (“Zeno Deposition”), at 13. Defendants object to the testimony of Pickens
            and Zeno “as expert opinions on railroad, flagging, or maintenance of way
            procedures,” complaining that Plaintiffs attempt to use the Pickens and Zeno
            testimony to establish the duties of a flagman and a watchman/lookout, as well as
            which duties applied to Cunningham. Reply, at 3. The Court accepts the portions of
            testimony given by Pickens and Zeno as fact witnesses, not expert witnesses.
17
            Mineo Affidavit, at 1 (stating that the crew had entered siding multiple times and had
            always received a train approach warning from Cunningham). See Pickens
            Deposition, at 15 (after entering the Copeville siding, the crew sat on their machines
            and awaited instruction); id. at 23-24 (Cunningham had informed the crew, in the
            past, when a train was approaching).

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December 21, 2005, and that the crew was surprised by the train’s arrival.18

            Sostand was struck and killed by KCS train 683. When the train arrived,

Cunningham was in his truck in a location that made it impossible for him to provide

the crew with a train approach warning.19 Plaintiffs argue that Cunningham’s failure

to provide a train approach warning, or to clearly inform crew members of the change

in protection procedures, violated Safety Rule 21.3, and that the warning would have

given Sostand sufficient time to avoid being struck by the train.

II.         SUMMARY JUDGMENT STANDARD

            Rule 56 of the Federal Rules of Civil Procedure mandates the entry of summary

judgment, after adequate time for discovery and upon motion, against a party who

fails to make a sufficient showing of the existence of an element essential to the

party’s case, and on which that party will bear the burden at trial.20 Summary


18
            Mineo Affidavit, at 2 (“I did not realize that the train was approaching until the train
            was on top of us. . . . I had to jump off on the main track side and sprint around my
            machine to avoid the [KCS] train. . . . Prior to the train’s arrival and impact with Chris
            Sostand, the train did not sound an audible warning, whistle, or bell.”); Pickens
            Deposition, at 15-16 (Pickens did not know a train was approaching and first realized
            when he saw Zeno, another crew member, jump off the machine both men were
            sitting on; Pickens never heard a whistle or bell); Zeno Deposition, at 12-13 (Zeno
            was unaware that a train was approaching and did not hear a whistle or bell).
19
            Response, at 6; Pickens Deposition, at 19-25.
20
            Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Little v. Liquid Air Corp., 37 F.3d
            1069, 1075 (5th Cir. 1994) (en banc); see also Baton Rouge Oil and Chem. Workers
                                                                                      (continued...)

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judgment “should be rendered if the pleadings, the discovery and disclosure materials

on file, and any affidavits show that there is no genuine issue as to any material fact

and that the movant is entitled to judgment as a matter of law.”21

            For summary judgment, the initial burden falls on the movant to identify areas

essential to the non-movant’s claim in which there is an “absence of a genuine issue

of material fact.”22 The moving party, however, need not negate the elements of the

non-movant’s case.23 The moving party may meet its burden by pointing out “the

absence of evidence supporting the nonmoving party’s case.”24

            If the moving party meets its initial burden, the non-movant must go beyond the

pleadings and designate specific facts showing that there is a genuine issue of material

fact for trial.25 “An issue is material if its resolution could affect the outcome of the

action. A dispute as to a material fact is genuine if the evidence is such that a

20
            (...continued)
            Union v. ExxonMobil Corp., 289 F.3d 373, 375 (5th Cir. 2002).
21
            FED. R. CIV. P. 56(c); Celotex Corp., 477 U.S. at 322–23; Weaver v. CCA Indus., Inc.,
            529 F.3d 335, 339 (5th Cir. 2008).
22
            Lincoln Gen. Ins. Co. v. Reyna, 401 F.3d 347, 349 (5th Cir. 2005).
23
            See Boudreaux v. Swift Transp. Co., 402 F.3d 536, 540 (5th Cir. 2005).
24
            Duffy v. Leading Edge Products, Inc., 44 F.3d 308, 312 (5th Cir. 1995) (internal
            citations and quotations omitted).
25
            Littlefield v. Forney Indep. Sch. Dist., 268 F.3d 275, 282 (5th Cir. 2001) (internal
            citation omitted).

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reasonable jury could return a verdict for the nonmoving party.”26

            In deciding whether a genuine and material fact issue has been created, the facts

and inferences to be drawn from them must be reviewed in the light most favorable

to the nonmoving party.27 However, factual controversies are resolved in favor of the

non-movant “only ‘when both parties have submitted evidence of contradictory

facts.’”28 The non-movant’s burden is not met by mere reliance on the allegations or

denials in the non-movant’s pleadings.29 Likewise, “conclusory allegations” or

“unsubstantiated assertions” do not meet the non-movant’s burden.30 Instead, the

nonmoving party must present specific facts which show “the existence of a genuine

issue concerning every essential component of its case.”31 In the absence of any proof,

the court will not assume that the non-movant could or would prove the necessary


26
            DIRECT TV Inc. v. Robson, 420 F.3d 532, 536 (5th Cir. 2006) (internal citations and
            quotation marks omitted).
27
            Reaves Brokerage Co. v. Sunbelt Fruit & Vegetable Co., 336 F.3d 410, 412 (5th Cir.
            2003).
28
            Alexander v. Eeds, 392 F.3d 138, 142 (5th Cir. 2004) (quoting Olabisiomotosho v.
            City of Houston, 185 F.3d 521, 525 (5th Cir. 1999)).
29
            See Diamond Offshore Co. v. A&B Builders, Inc., 302 F.3d 531, 545 n.13 (5th Cir.
            2002).
30
            Delta & Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d 395, 399 (5th
            Cir. 2008).
31
            Am. Eagle Airlines, Inc. v. Air Line Pilots Ass’n, Int’l, 343 F.3d 401, 405 (5th Cir.
            2003) (citation and internal quotation marks omitted).

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facts.32

            Affidavits cannot preclude summary judgment unless they contain competent

and otherwise admissible evidence.33              A party’s self-serving and unsupported

statement in an affidavit will not defeat summary judgment where the evidence in the

record is to the contrary.34

            Finally, “[w]hen evidence exists in the summary judgment record but the

nonmovant fails even to refer to it in the response to the motion for summary

judgment, that evidence is not properly before the district court. Rule 56 does not

impose upon the district court a duty to sift through the record in search of evidence

to support a party’s opposition to summary judgment.”35

III.        ANALYSIS

            Under Texas law, the elements of a negligence cause of action are (1) a legal

duty owed by one party to another, (2) a breach of that duty, and (3) damages




32
            Little, 37 F.3d at 1075 (citing Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 888
            (1990)).
33
            See FED. R. CIV. P. 56(e); Love v. Nat’l Medical Enters., 230 F.3d 765, 776 (5th Cir.
            2000); Hunter-Reed v. City of Houston, 244 F. Supp. 2d 733, 745 (S.D. Tex. 2003).
34
            See In re Hinsely, 201 F.3d 638, 643 (5th Cir. 2000).
35
            Malacara v. Garber, 353 F.3d 393, 405 (5th Cir. 2003) (internal citations and
            quotations omitted).

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proximately caused by the breach.36 The existence of a duty is a question of law.37

However, in some circumstances, resolution of the legal issue “‘may require the

resolution of disputed facts or inferences which are inappropriate for legal

resolution.’”38

            The parties’ main dispute on summary judgment concerns what duty was owed

by Cunningham and Railpros to Sostand. Plaintiffs argue that Cunningham had a

duty, as EIC, to provide a train approach warning, and that Cunningham’s failure to

provide said warning was a breach of his duty, resulting in Sostand’s death.

Defendants argue that, under the “track and time” safety procedure, Cunningham’s

only duty was to clear the crew to the siding and release the track, and that he had

satisfied his duty. Defendants also argue that the “track and time” procedure was

exclusive of other methods and eliminated the need for a train approach warning

because the workers were in the siding and thus protected.39

            On this record, the Court is not satisfied that, as a matter of law, use of the



36
            Nabors Drilling, U.S.A., Inc. v. Escoto, 288 S.W.3d 401, 404 (Tex. 2009).
37
            Id.
38
            Id. (quoting Fort Bend County Drainage Dist. v. Sbrusch, 818 S.W.2d 392, 395
            (Tex.1991)).
39
            See Deposition of David Brookings (“Brookings Deposition”) (Exhibit D to Reply),
            at 26-27.

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“track and time” procedure eliminated any further duty by Defendants to provide a

train approach warning. Defendants agree that Cunningham was the EIC, and

Plaintiffs have presented evidence that the EIC is required to conduct subsequent

safety briefings if safety procedures changed during the work period.40 There remain

genuine issues of material fact about what RailPros and Cunningham knew at or about

12:49 when they were told to clear the main track and enter the Copeville siding, what

knowledge Cunningham had about the oncoming train KCS 683, and whether

Cunningham had a duty, or a practice on which the Brown crew was entitled to rely,

to give the Brown crew a further warning.

IV.         CONCLUSION

            For all of the foregoing reasons, it is hereby

            ORDERED that Lewis E. Cunningham and Railpros, Inc.’s Motion for

Summary Judgment as to All Claims by Plaintiffs [Doc. # 40] is DENIED.

            SIGNED at Houston, Texas, this 27th day of October, 2009.




40
            KCS Safety Rules (Exhibit 4 to Cunningham Deposition), at bates-stamped pages 11-
            12 (Safety Rule 21.3).

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